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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture

 

United States District Court

for the
District of Arizona

In the Matter of the Seizure of: ) Case No.
(Briefly describe the property to be seized)

$55,000.00 United States Currency

WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests that
certain property located in the District of Arizona be seized as being subject to forfeiture to the United States
of America. The property is described as follows:

$55,000.00 United States Currency.

  

YOU ARE COMMANDED to execute this warrant and seize the property on or before. a NALLY (o i
(not to exceed 14 days)

Qin the daytime - 6:00 a.m. to 10:00 p.m. Q) at any time in the day or night because good cause has
been established.

Unless delayed notice is authorized below, you must also give a copy of the warrant and receipt for the
property taken to the person from whom, or from whose premises, the property was taken, or leave a copy and
receipt at the place where the property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory of
any property seized and the officer executing the warrant must promptly return this warrant and a copy of the
inventory to United States Magistrate Judge Michelle H. Burns.

/ '  () Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed
in 18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to
the person who, or whose property, will be search or seized (check the appropriate box)

QOfor __ days (not to exceed 30). O until, the facts justifying, the later specific date of

 

 

Date and time issued: (\ rnouny DS Cece Tt Lo, 0 b 6 ES Ce
MS J C fam Judges signature
City and State: _Phoenix, AZ Hon. Michelle H. Burns, U.S. Magistrate Judge

 

Printed name and title

 
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AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture (Page 2)

 

 

 

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
Inventory made in the presence of:
Inventory of the property taken:
Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date:

 

 

Executing officer's signature

 

Printed name and title

 

 

 

 
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AO 108 (Rev. 06/09) Application for a Warrant to Seize Personal Property Subject to Forfeiture

 

United States District Court
for the
District of Arizona

In the Matter of the Seizure of:
(Briefly describe the property to be seized)

Case No.

)

)

)
$55,000.00 United States Currency. ) 4
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)
)

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, a federal law enforcement officer or attorney for the government, request a seizure warrant
and state under penalty of perjury that I have reason to believe that the $55,000 U.S.C. (a) is
property constituting, or derived from, any proceeds obtained, directly or indirectly, from a
violation of a drug trafficking offense, including 21 U.S.C. § 841, is proceeds traceable to
money exchanged for a controlled substance in violation of a drug trafficking offense, and is
property, real or personal, involved in a transaction or attempted transaction in violation of a
money laundering offense, including 18 U.S.C. §§ 1956 and 1957; (b) is subject to seizure
pursuant to 18 U.S.C. §§ 981(b) and 982(b)(1), and 21 U.S.C. §§ 853(e), (f) and 881(b); and
(c) is subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (C) and 982(a)(1), 21
U.S.C. §§ 853(a) and 881(a), and 28 U.S.C. § 2461. (describe the property):

$55,000.00 United States Currency.

The application is based on these facts:

See the Affidavit of Joshua Boyer, Special Agent (SA), United States Drug Enforcement
Administration.

{3 Continued on the attached sheet. f f B

 

 

Applicant’ S Signature
MARK t \ ponen stoned by MARK Joshua Boyer, SA, Affiant :
/ Pate: 2022.01.05 10:38:43 Printed name and title

WENKER
Approved by AUSA Mark‘J. Wenker

Sworn telephonically.

Date: “\annew: > gee & \ KS Af fp

02sCu

Judge’s signature

  
 

City and State: _Phoenix, Arizona Hon. Michelle H. Burns, U.S. Magistrate Judge
Printed name and title

 

 
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AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT

Special Agent (SA) Joshua Boyer (Affiant), Drug Enforcement Administration (DEA),

having been duly sworn, deposes and states the following:

I. INTRODUCTION

1. I, Joshua Boyer, am a Special Agent of the U.S. Drug Enforcement
Administration and have been employed in that position since August of 2010. I am currently
assigned to the West Valley Drug Task Force in Glendale, AZ. My duties are to investigate
violations of 21 U.S.C. § 841, et seq., and other federal and state law violations. I am also
cross-deputized as a peace officer in the state of Arizona through the Maricopa County
Sheriff’s Office. Prior to becoming a Special Agent with the DEA, I was employed for five
years as a police officer with the City of Scottsdale, within the State of Arizona. I received
narcotics training at the Maricopa County Law Enforcement Training Academy as well as

miscellaneous other narcotics related trainings during my tenure with the City of Scottsdale.

2. I have received formal training in drug investigations and the enforcement of
federal drug laws from the DEA at the FBI Academy in Quantico, Virginia. I have learned
about the illegal drug trade from continual training, other law enforcement officers, informants,

defendants, prosecutors, and numerous drug investigations I have conducted or assisted.

3. I have conducted numerous narcotics investigations as the case agent and I have
also participated in narcotics investigations as a surveillance agent and in an undercover
capacity. I have monitored and debriefed confidential sources, sources of information, and

interviewed persons charged with and convicted of felony narcotics and other felony offenses.

 
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I frequently subpoena and review documentary evidence including, periodically, financial
records. Since January of 2011, I have participated in several Title II] wiretap investigations
by serving as a case agent, wire room supervisor, serving as surveillance team leader,
conducting surveillance, and assisting with the execution of search warrants and the seizure of
evidence and assets. This affidavit is intended to show merely that there is sufficient probable

cause for the requested warrant and does not set forth all my knowledge about this matter.

II. PURPOSE OF THIS AFFIDAVIT
4, This affidavit is submitted in support of an application for a seizure warrant to
seize the following:

$55,000.00 United States Currency

I submit there is probable cause to believe that the $55,000 U.S.C. (a) is property
constituting, or derived from, any proceeds obtained, directly or indirectly, from a violation of
a drug trafficking offense, including 21 U.S.C. § 841, is proceeds traceable to money
exchanged for a controlled substance in violation of a drug trafficking offense, and is property,
real or personal, involved in a transaction or attempted transaction in violation of a money
laundering offense, including 18 U.S.C. §§ 1956 and 1957; (b) is subject to seizure pursuant
to 18 U.S.C. §§ 981(b) and 982(b)(1), and 21 U.S.C. §§ 853(e), (f) and 881(b); and (c) is
subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (C) and 982(a)(1), 21 U.S.C.

§§ 853(a) and 881(a), and 28 U.S.C. § 2461.

5. The $55,000 U.S.C. currently is in the physical custody of the United States
Marshals Service (USMS) after being transferred to them by DEA; however because the Gila

River Police Department took initial possession of it during the traffic stop, a federal seizure

 
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warrant is needed so the seized currency can be officially transferred into federal custody and

it can then be forfeited according to federal law.

I. BACKGROUND AND INVESTIGATION

6. On September 23, 2021, investigators with the DEA West Valley Task Force
observed Edgar Morales-URIARTE meet with a known drug trafficker and receive bulk
currency that URIARTE was tasked with transporting to Mexico. On this same date, DEA
coordinated a traffic stop on URIARTE and discovered $51,000 in bulk U.S. Currency in his
possession which he denied owning. Following this incident, DEA investigators obtained
authorization via a State of Arizona warrant to affix a GPS tracking device to URIARTE’s

white Chevrolet Tahoe.

7. On September 30, 2021, investigators received notification from the GPS
tracking device on URIARTE’s Tahoe that was traveling northbound towards Phoenix from
the area of San Luis, AZ. Subsequently, the Tahoe arrived at Lins Grand Buffet located at
7406 W. McDowell Rd, Phoenix, AZ. Investigators were able to establish physical

surveillance on the Tahoe after it arrived at this location.

8. Investigators ultimately observed URIATE, the registered owner of the vehicle,
URIARTE, exit the restaurant and enter the Tahoe. He then drove to another area of the
parking lot and parked again. At this time another vehicle, a white Ford Expedition, pulled
alongside of the Tahoe. URIARTE rolled down his front passenger window, and the driver of
the Expedition rolled down the driver window, and they appeared to briefly converse. Then,

the driver of the Expedition, an unidentified Hispanic male, exited his vehicle with a white

 
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plastic grocery style bag in hand. The male walked over to the front passenger window of
URIARTE’s Tahoe and placed the bag inside his vehicle. The male then walked back to the
Expedition and immediately departed from the area. I know based on training and experience
that drug traffickers often meet in parking lots and exchange illicit drugs or bulk currency in
bags or other like items to conceal what they are. Furthermore, I know that these interactions
are often very quick as to not draw unwanted attention from people in the area to include law

enforcement.

9. Investigators then observed URIARTE exit his vehicle and walk to the
passenger side, remove the bag, open the rear passenger door, and wrap the bag with what
appeared to be a yellow-colored towel and place it somewhere in the rear seat of the Tahoe.
URIARTE then went back inside the restaurant. Based on my training and experience, I
believe URIARTE was making further efforts to conceal the bag he had received and hide it

in an area of the Tahoe that would not be easy to see from the outside.

10... A short while later, investigators observed URIARTE and another Hispanic
male (later identified as Omar Morales), exit Lins Grand Buffet and both enter the Tahoe with
Morales as the driver and URIARTE as the front passenger. They departed from the restaurant
and began traveling westbound on the I-10 freeway, and then south on MC85 towards Gila
Bend. Surveillance units continued to follow the Tahoe and observed it stop at the Love’s
Truck Stop at 820 W. Pima St., Gila Bend, AZ. Both Morales and URIARTE exited the Tahoe
and went into the Love’s store for a short period, and then came out and filled the Tahoe with
gas. They then departed the Truck Stop southbound, and ultimately merged on to the I-8

freeway.

 
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11. Surveillance units then requested the assistance of Gila River Police Department
to make a traffic stop on URIARTE. Gila River Police K-9 Officer J. Lopez #1447 conducted
a traffic stop on URIARTE on the I-8 westbound at mile marker 109. During the traffic stop
URIARTE advised Officer Lopez that he had U.S. Currency in his vehicle which did not
belong to him nor Morales. URIARTE gave Officer Lopez the U.S. Currency which was
wrapped in clear plastic wrap with the number “55,000” written on it. I know based on my
training and experience that drug trafficking organizations regularly package bulk currency
derived from drug proceeds in plastic wrap. Both Morales and URIARTE signed a voluntary

disclaimer of interest and ownership for the U.S Currency.

12. Morales and URIARTE were subsequently released from the traffic stop. DEA
investigators arrived at the stop immediately following the release of Morales and URIARTE

and took possession of the U.S. Currency, which was counted and determined to be exactly

$55,000.

Hf

 
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IV. CONCLUSION

13. Based upon the above, I believe there is probable cause to believe that the
$55,000 U.S.C. (a) is property constituting, or derived from, any proceeds obtained, directly
or indirectly, from a violation of a drug trafficking offense, including 21 U.S.C. § 841, is
proceeds traceable to money exchanged for a controlled substance in violation of a drug
trafficking offense, and is property, real or personal, involved in a transaction or attempted
transaction in violation of a money laundering offense, including 18 U.S.C. §§ 1956 and 1957;
(b) is subject to seizure pursuant to 18 U.S.C. §§ 981(b) and 982(b)(1), and 21 U.S.C. §§
853(e), (f) and 881(b); and (c) is subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A)

and (C) and 982(a)(1), 21 U.S.C. §§ 853(a) and 881(a), and 28 U.S.C. § 2461.

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J osha Boyer V

Special Agent

Drug Enforcement Administration
Phoenix, Arizona

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Subscribed and sworn to before me and signed telephonically this

VV

Hon, Michelle H. Burns
United States Magistrate Judge

day of January, 2022.

 

 

 
